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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


GLOBAL HEALTH COUNCIL et al.,

                       Plaintiffs,

        v.                                                   Civil Action No. 25-cv-402 (AHA)

DONALD J. TRUMP et al.,

                       Defendants.


               RESPONSE TO DEFENDANTS’ STATUS REPORT AND
             MOTION TO ENFORCE TEMPORARY RESTRAINING ORDER

       Far from demonstrating compliance with the temporary restraining order issued by this

Court (ECF No. 21), Defendants’ Status Report (ECF No. 25) makes perfectly clear that they have

made every effort to circumvent it, both in letter and in spirit. Indeed, since the Court entered its

order, Defendants have not disbursed a single dollar of the hundreds of millions owed and due to

Plaintiffs—even for awards not subject to any purported termination or suspension and even for

work already performed before the unlawful funding freeze. Every day and every hour that

Defendants withhold those funds jeopardizes Plaintiffs’ very existence and harms the countless

American workers whose lives have been thrown into chaos by Defendants’ arbitrary and

capricious implementation of Executive Order 14,169. The Court should order the immediate

payment of all funds owed and due to Plaintiffs and other USAID and State Department

implementing partners within 48 hours of the Court’s enforcement order.1




1
 The parties have conferred pursuant to LCvR 7(m). Defendants oppose the relief sought in this
motion.


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        As for the other assertions in Defendants’ Status Report—including their baffling attempt

to retroactively justify their mass terminations of thousands of contracts and grants based on

contract provisions they are still in the process of reviewing—Plaintiffs take issue with them all.

Plaintiffs thus agree with the plaintiffs in AIDS Vaccine Advocacy Coalition v. U.S. Department

of State that “Defendants are plainly in violation of the TRO” by treating those terminations—the

vast majority of which expressly invoked Executive Order 14,169 as authority—as continuing in

full force and effect. See Emergency Mot. for Contempt at 8, AIDS Vaccine Advocacy Coalition

v. U.S. Dep’t of State, No. 25-cv-400 (D.D.C. Feb. 18, 2025). But for purposes of this filing,

Plaintiffs focus on Defendants’ failure to disburse funds, which is causing Plaintiffs particularly

acute irreparable harm. Plaintiffs will address the other issues raised in the Status Report in the

briefing on their motion for a preliminary injunction. In the meantime, the Court should

immediately address the existential issue of Defendants’ unlawful withholding of funds owed and

due to Plaintiffs.

                                        BACKGROUND

        On February 13, 2025, this Court issued a TRO enjoining all Defendants other than

President Trump (the “Restrained Defendants”) from “enforcing or giving effect to” particular

sections of a memorandum issued by Defendant Rubio and “any other directives that implement

Sections 3(a) and 3(c) of Executive Order Number 14169, ‘Reevaluating and Realigning United

States Foreign Aid’ (Jan. 20, 2025).” TRO at 14. The Court specifically enjoined the Restrained

Defendants from “suspending, pausing, or otherwise preventing the obligation or disbursement of

appropriated foreign-assistance funds in connection with any contracts, grants, cooperative

agreements, loans, or other federal foreign assistance award that was in existence as of January 19,

2025.” Id. It also specifically enjoined the Restrained Defendants from “issuing, implementing,

enforcing, or otherwise giving effect to terminations, suspensions, or stop-work orders in


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connection with any contracts, grants, cooperative agreements, loans, or other federal foreign

assistance award that was in existence as of January 19, 2025.” Id. The Court ordered the

Restrained Defendants to “take all steps necessary to effectuate” the TRO and directed them to file

a status report on their compliance with the TRO. Id.

       On February 18, Defendants submitted a status report, which attached a declaration from

Defendant Peter Marocco. See Status Report (ECF No. 25); Marocco Decl. (ECF No. 25-1). While

Defendants claim to “have worked diligently to comply with the Court’s order,” id. ¶ 5, the status

report and the Marocco declaration show that, in fact, the Restrained Defendants are continuing to

prevent the disbursement of foreign-assistance funds on a categorical basis. In their filings,

Defendants do not represent that any foreign-assistance funding has been disbursed—to Plaintiffs,

their members, or any other implementing partners—since the issuance of the TRO. At most,

Defendants claim that “21 payments” have been “authorized” and “are expected to be paid this

week.” Marocco Decl. ¶ 15; see Status Report ¶ 13. The Marocco declaration further states that

USAID has implemented “a new Payment Integrity Process” under which “USAID will continue

to exercise Agency discretion to individually examine outgoing payments” through “payment-by-

payment processing.” Marocco Decl. ¶¶ 6, 8. The Marocco declaration also represents that the

State Department, too, has “implemented new procedures” for processing payments. Id. ¶ 33.

These new procedures are not limited to preventing fraud, but instead are designed “to validate

compliance with policy.” Id. That is, even in Defendants’ telling, they continue to “suspend[],

paus[e], or otherwise prevent[] the obligation or disbursement of appropriated foreign-assistance

funds” in direct contravention of this Court’s order. TRO at 14.

       But Defendants’ filings also fail to fully represent the situation. Internal communications

from within the State Department and USAID show that Defendants are in fact continuing to

obstruct disbursements altogether. For example, in an email dated February 18—five days after


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the Court issued the TRO, and the same day Defendants filed their Status Report—a senior State

Department official stated that “Secretary Rubio has implemented a 15-day disbursement pause

on all $15.9B worth of grants at the State Department.” Dunn-Georgiou Decl. ¶ 3 (emphasis in

original). In addition, a USAID official told Plaintiff DAI Global that the processing of all USAID

payments has been restricted to five regional hubs, where an extremely limited number of agency

personnel must complete individual requests to process each payment, which then cannot be

disbursed unless and until each is approved by a single political appointee in Washington, D.C.

See Northrip Decl. ¶ 8. Consistent with these new restrictions on disbursements, Plaintiffs and

their members have not received a single dollar of foreign-assistance funding from USAID or the

State Department in the week that has elapsed since the TRO was issued.

                                     LEGAL STANDARD

       “[F]ederal courts are not reduced to issuing injunctions against [government] officers and

hoping for compliance.” Hutto v. Finney, 437 U.S. 678, 690 (1978). Courts have “broad” equitable

“authority to issue additional orders to enforce a prior injunction.” Damus v. Wolf, No. 18-cv-578,

2020 WL 601629, at *2 (D.D.C. Feb. 7, 2020) (citation omitted). “The exercise of this authority

is ‘particularly appropriate’” where a court is asked to “enforce the terms of its mandate to an

administrative agency.” Flaherty v. Pritzker, 17 F. Supp. 3d 52, 55 (D.D.C. 2014) (quoting Int’l

Ladies’ Garment Workers’ Union v. Donovan, 733 F.2d 920, 922 (D.C. Cir. 1984)).

       When deciding a motion to enforce, “a court may take into account the compliance with

the court’s previous orders and the need for a further order to prevent inadequate compliance in

the future.” Nat’l L. Ctr. on Homelessness & Poverty v. U.S. Veterans Admin., 765 F. Supp. 1, 6

(D.D.C. 1991) (citation omitted). Courts grant the motion when the plaintiff “demonstrates that a

defendant has not complied . . . even if the noncompliance was due to misinterpretation.” Heartland

Hosp. v. Thompson, 328 F. Supp. 2d 8, 11 (D.D.C. 2004). “The overarching question is whether


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the plaintiff has received all relief required by the court’s prior order.” S. Poverty L. Ctr. v. U.S.

Dep’t of Homeland Sec., No. 18-cv-760, 2022 WL 19037214, at *3 (D.D.C. June 30, 2022)

(citation omitted).

                                           ARGUMENT

       Plaintiffs’ experiences and internal communications from within USAID and the State

Department confirm that the Restrained Defendants are defying the Court’s order by withholding

and delaying disbursement of foreign-assistance funds. Notwithstanding that the Court issued its

TRO a week ago, no funds have been disbursed to any implementing partners (including Plaintiffs

and their members) on due and overdue invoices. And Plaintiffs have likewise been unable to make

draws of funds under their grants and cooperative agreements. The result is that Plaintiffs remain

in largely the same position they were before the Court issued its order: their owed funds have not

been disbursed and they continue to suffer the same (or worse) irreparable harms. The Court should

therefore issue an order enforcing the TRO.

       Since the Court issued the TRO, Plaintiffs HIAS, Management Sciences for Health (MSH),

Chemonics International, DAI Global, Democracy International, and the American Bar

Association have received no payments on their numerous overdue invoices. See Hetfield Decl.

¶ 3; Wentworth ¶ 3; Butcher Decl. ¶¶ 3–4; Northrip Decl. ¶¶ 3–4; Bjornlund Decl. ¶ 6; Carlson

Decl. ¶¶ 4–5.2 These Plaintiffs continue to be owed many millions of dollars for work performed

before January 20, which Defendants refuse to pay.3 Similarly, since the TRO, Plaintiffs have been


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 MSH “has received a small payment . . . to resume specified activities under a PEPFAR ‘waiver’”
for “activities from February 14, 2025, to March 15, 2025.” Wentworth Decl. ¶ 3. MSH has not
received any payments for overdue expenses owed by the federal government. Id.
3
  Specifically, HIAS is owed $6,443,043.48 in outstanding invoices. Hetfield Decl. ¶ 3. Chemonics
is owed $110.3 million in outstanding invoices issued to USAID for work performed in 2024,
$25.2 million, of which is past due. Butcher Decl. ¶ 3. DAI Global is owed over $70 million in



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unable to draw down funds from letter of credit (LOC) facilities, which fund grants and cooperative

agreements, for ongoing work. See, e.g., Northrip Decl. ¶¶ 9–11; Carlson Decl. ¶¶ 4–5; Butcher

Decl. ¶ 4. Likewise, Plaintiffs Global Health Council and the Small Business Association for

International Companies have polled their 200-plus members, and not one has responded that it

received any payments since the TRO. Dunn-Georgiou Decl. ¶¶ 5–7; Nichols Decl. ¶¶ 5–7. As a

result, Plaintiffs have continued to suffer the irreparable harms that they filed this suit to prevent.

See Mot. at 20–25 (ECF No. 4); Decls. in Support of Mot. for Temp. Restraining Order & Prelim.

Inj. (ECF No. 7). For example, MSH has determined that—unless USAID promptly disburses

funds—it will be forced to furlough nearly all of its full-time U.S.-based staff on March 7, 2025.

Wentworth Decl. ¶ 7 (“[A]s few as ten individuals will remain as full-time staff,” “down from a

January 24, 2025 total of 254 U.S. payroll staff.”); see also id. ¶¶ 8–9 (describing “massive

employee terminations” oversees and other harms to business relations).

       Plaintiffs’ experiences are borne out by Defendants’ Status Report and the Marocco

declaration. Those filings confirm that, since the TRO was issued, Defendants have made no

payments whatsoever on any contracts, grants, cooperative agreements, loans, or other federal

foreign assistance awards that were in existence as of January 19. At most, according to Defendant

Marocco, “the Agency has authorized at least 21 payments” that “are expected to be paid this

week.” Marocco Decl. ¶ 15 (ECF No. 25-1) (emphasis added). But even if USAID were to make




payments on invoices that are more than 30 days past due. Northrip Decl. ¶ 3. Democracy
International is owed over $3 million in invoices and draws submitted to USAID for work
completed prior to January 24, 2025. Bjornlund Decl. ¶ 7. And the American Bar Association is
owed $3,496,048.62 in direct payments through drawdowns in the Payment Management System
and $1,314,427 in payments from pass-through organizations, for a total past due amount of
$4,810,475.62. Carlson Decl. ¶ 5.


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those 21 payments as “expected,” that would barely scratch the surface of the mountain of overdue

invoices at USAID and the State Department.

       Nor have Defendants provided any evidence that the glacial rate of payments will improve.

In fact, newly imposed approval processes at USAID are creating an artificial bottleneck that will

only serve to slow disbursements further. Since the TRO, USAID has restricted the processing of

all USAID payments to limited personnel in five regional hubs: Jordan, Ghana, South Africa, San

Salvador, and Bangkok. Northrip Decl. ¶ 8. For example, South Africa now has only “five

employees to examine and certify vouchers for 16 countries” (whereas South Africa “usually has

20 employees . . . who process vouchers for six countries”). Decl. of Emilia Doe ¶ 15, Am. Foreign

Serv. Ass’n v. Trump, No. 25-cv-352 (D.D.C. Feb. 17, 2025) (emphasis added). Only 50 people

worldwide are able to process payments using USAID’s payment system, known as Phoenix. Id.

And now every payment request—including for existing awards and for work already performed—

must be individually approved by a single political appointee in Washington: Assistant to the

Administrator for Management and Resources Ken Jackson. Northrip Decl. ¶ 8.4

       These changes are having the predictable result of slowing payment processing to a

standstill. On February 18 (the same day Defendants filed their Status Report), a USAID

Contracting and Agreement Officer in Mexico reported to implementing partners that “[USAID’s]

payment systems are still not fully functional. We have not yet processed past pending payments



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 Payments for some grants and cooperative agreements are managed through letter of credit (LOC)
facilities, but the payment management systems that govern those facilities also appear to be
dysfunctional. For example, since the TRO, DAI Global has been repeatedly requesting
drawdowns under the LOC facilities associated with each of its USAID-funded cooperative
agreements. Northrip Decl. ¶¶ 9–11. As of this week, requests are shown as “Payment Processed”
and “In Transit,” but the expected payment date is not the following business day, as was the usual
practice before January 20. Id. ¶ 11. Instead, all requests have been assigned an expected payment
date of January 24, 2026—over 11 months from now. Id.


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and have no assurances regarding future invoices and the duration before payment.” Dunn-

Georgiou Decl., Ex. B. And on February 20, a Contracting and Agreement Officer in Vietnam

“caution[ed]” implementing partners that “USAID/Vietnam does not currently have the capability

to process approved vouchers in a timely manner.” Dunn-Georgiou Decl., Ex. C. The message

continued “[a]lthough we hope that new voucher procedures will be established that allow us to

process legitimate vouchers quickly, we wanted to make you aware of these technical difficulties

as you plan how to move forward with your awards.” Id. The message also included the proviso:

“This notice is not an acknowledgement of anticipatory breach, we hope to be able to repair our

payment systems and processes before a breach occurs.” Id.

       As for the State Department, Defendant Marocco’s declaration conspicuously does not

mention any payments that have been authorized or disbursed by the agency since the Court issued

the TRO. In fact, according to an email from a State Department official on February 18,

“Secretary Rubio has implemented a 15-day disbursement pause on all $15.9B worth of grants at

the State Department.” Dunn-Georgiou Decl. ¶ 3 (emphasis in original).5 Plaintiffs are unaware of

the asserted legal basis (if any) for Defendant Rubio to impose a new pause of all foreign-aid

disbursements in the face of the TRO—much less a basis for Defendants to fail to mention this

pause in their Status Report.6


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  In the same email, the official also directed personnel in the Bureau of South and Central Asian
Affairs to undertake an assessment of all “grants at your post” (listed in an attached spreadsheet)
by the end of the day and directed those personnel to “review the President’s executive orders and
recommend termination of grants that do not comply with those orders.” For each grant, personnel
were directed to recommend either “‘Keep’ or ‘Terminate.’” Dunn-Georgiou Decl. ¶ 3. The
message continued: “If you select ‘Keep’, please write a one-line justification in column S.
Nothing is required in [column] S if you select ‘Terminate’. (If awards have already been
terminated prior to 2/12/25, type ‘Already Terminated’ in Column R.)” Id.
6
 The Code of Federal Regulations does not have any provision authorizing a suspension without
cause. See 2 C.F.R. 200.239 (listing suspension as a “remedy for noncompliance” when a recipient



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       At the same time, Defendants have begun terminating the agency’s entire personal service

contractor workforce. See Pls.’ Suppl. Evidence in Supp. of Emergency Relief at 1–2, Personal

Servs. Contractor Ass’n v. Trump (PSCA), No. 25-cv-469 (D.D.C. Feb. 19, 2025), ECF No. 10.

Personal service contractors “fill numerous roles that are essential to USAID’s operations,

including acting as contracting and agreement or award officers.” Compl. ¶ 15, PSCA, No. 25-cv-

469 (D.D.C. Feb. 18, 2025), ECF No. 1. These personnel are “first-line approvers for both payment

reimbursement and advances for implementing partner awards,” and their termination “will further

backlog overdue back payments to implementing partners performing lifesaving assistance.” 4th

Decl. of Jane Doe ¶ 8, PSCA, No. 25-cv-469 (D.D.C. Feb. 19, 2025), ECF No. 10-2.

       Additionally—in the two business days between the issuance of the TRO and the filing of

Defendants’ Status Report—both USAID and the State Department have apparently begun

developing new procedures for processing any disbursements of foreign-assistance funds that will

undoubtedly slow disbursements even further. USAID is implementing “a new Payment Integrity

Process” under which “USAID will continue to exercise Agency discretion to individually

examine outgoing payments” through “payment-by-payment processing.” Marocco Decl. ¶¶ 6, 8.

Likewise, the State Department has “implemented new procedures” for processing payments,

which are not limited to preventing fraud, but instead are designed “to validate compliance with

policy.” Id. ¶ 33. Defendants’ sudden adoption of these additional procedures imposes new hurdles

for the disbursement of funds and is thus plainly incompatible with the Court’s order that the

Restrained Defendants stop “preventing . . . the disbursement of appropriated foreign-assistance

funds.” TRO at 14.




“fails to comply with the U.S. Constitution, Federal statutes, regulations, or terms and conditions
of the Federal award[]” and the “noncompliance cannot be remedied”).


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       Nor can these new procedures be justified by an ostensible desire to combat fraud. To

begin, Defendants have identified no evidence whatsoever that any paused or delayed

disbursement—to Plaintiffs, their members, or any other implementing partner—would be

fraudulent. Moreover, the agencies already have mechanisms to protect against fraud, waste, and

abuse. For example, USAID has adopted comprehensive guidance governing the process by which

it disburses funds to implementing partners, including detailed protocols to prevent fraudulent or

otherwise improper payments. See USAID, Automated Directive System chs. 630 & 636 (rev.

2019). In fiscal year 2024, for example, USAID made $4.04 million in overpayments (out of an

agency budget of $40 billion), of which all but $80,000 were recovered—a recovery rate of

97.95%, which is higher than that of nearly every other agency. See PaymentAccuracy.gov, Annual

Improper     Payments     Datasets,    https://www.paymentaccuracy.gov/payment-accuracy-the-

numbers/. In addition, the Payment Integrity Information Act of 2019, Pub. L. 116–117, requires

agencies to “assess the risk of, estimate, report, reduce, and recover improper payments,” and in

the most recent fiscal year, an independent accountant found that USAID and all of its programs

were “in compliance.” USAID, Office of Inspector Gen., USAID Complied with the Payment

Integrity Information Act of 2019 for Fiscal Year 2023, Report 0-000-24-006-C (May 28, 2024).

Each entity receiving $750,000 or more in federal funding must also undergo an audit and share

the findings of the audit with each federal funding source.7


7
  Defendants’ assertion that “[u]nder that legacy system, USAID employees were unable to
adequately identify basic information about specific payments, such as the programs with which
specific payments were associated,” Marocco Decl. ¶ 15 (ECF No. 25-1), is unsupported by any
factual details and implausible. All requested payments must identify a unique Award Number that
is associated with every payment request.
Moreover, Defendants’ supposed interest in combatting fraud is belied by other actions they have
taken to implement the President’s funding freeze. As reported by the USAID Inspector General,
“staffing shortages and limitations on communications with aid organizations stemming from the



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       The agencies’ actions in the days since the Court entered the TRO—severely limiting

access to the Phoenix system, funneling all payment approvals through a single person, terminating

hundreds of critical personnel, and suddenly imposing new (and inchoate) processes and

procedures—are creating an artificial bottleneck that is all but halting the disbursement of foreign-

assistance funds. This bottleneck is “preventing the . . . disbursement of appropriated foreign-

assistance funds,” in violation of the express terms and spirit of the TRO. TRO at 14. Indeed,

Defendants’ conduct is precisely the kind of “evidence of non-compliance” this Court indicated

would justify “specific directives regarding USAID [and State Department] personnel or

operational details.” Id. at 13–14.

       The Court should issue an order to enforce the TRO. See S. Poverty L. Ctr., 2022 WL

19037214, at *3; Flaherty, 17 F. Supp. 3d at 55.8

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiff’s motion to enforce and issue

the proposed order attached to this motion.




cessation of U.S. foreign assistance have limited USAID’s ability to receive, react to, and report
allegations of diversion.” USAID, Office of Inspector Gen., Oversight of USAID-Funded
Humanitarian Assistance Programming Impacted by Staffing Reductions and Pause on Foreign
Assistance (Feb. 10, 2025). Defendants fired the Inspector General immediately after this report
was released. See Ellen Knickmeyer, White House fires USAID inspector general after warning
about funding oversight, officials say, AP (Feb. 11, 2025), https://apnews.com/article/usaid-
american-companies-layoffs-lawsuit-8c116d877c179169fbce2d3348fcd997.
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  As noted, Plaintiffs take issue with the remaining arguments in Defendants’ Status Report.
Plaintiffs strongly disagree, for example, that Defendants can retroactively justify their mass
terminations of hundreds of contracts as consistent with the Court’s TRO, the relevant contract
terms, the Administrative Procedure Act, the Impoundment Control Act, the Anti-Deficiency Act,
or the Constitution. Nor can Defendants lawfully continue their program of mass terminations and
suspensions going forward. But Plaintiffs will address those issues in their forthcoming reply in
support of their motion for a preliminary injunction.


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Dated: February 20, 2025           Respectfully submitted,

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